        EXHIBIT A1




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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NEW YORK


                                                      Civil Action No. 16-cv-696 (BMC)(GRB)
   IN RE DENTAL SUPPLIES ANTITRUST
   LITIGATION                                         ALL CASES

                                                      [PROPOSED]
                                                       999999999 SCHEDULING ORDER




         AND NOW, having reviewed the Unopposed First Request for a Schedule Extension filed

  in this Court by the Class Plaintiffs in the above-captioned action:



  1. The following amended deadlines in the above-captioned action are hereby so ordered:



                Event                     Original Deadline                   Amended Deadline
   Deadline for Fact Discovery       5/12/2017                           6/26/2017
   Plaintiffs’ Class and Merits      6/16/2017                           9/14/2017
   Expert Reports
   Defendants’ Class and Merits      8/15/2017                           11/13/2017
   Expert Reports
   Plaintiffs’ Class and Merits      10/13/2017                          1/11/2018
   Rebuttal Reports
   Plaintiffs’ Initial Class         11/10/2017                          2/8/2018
   Certification Brief
   Defendants’ Opposition to         12/22/2017                          3/22/2018
   Plaintiffs’ Class Certification
   Brief; Defendants Class
   Daubert Motion(s)/Brief(s);
   and Plaintiffs’ Class Daubert
   Motion/Brief
   Defendants’ Opposition(s) to      2/2/2018                            5/3/2018
   Plaintiffs’ Class Daubert



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   Motion/Brief; Plaintiffs’
   Opposition(s) to Defendants’
   Class Daubert
   Motion(s)/Brief(s)
   Plaintiffs’ Class Certification   2/9/2018                         5/10/2018
   Reply Brief
   Defendants’ Class Daubert         3/5/2018                         6/4/2018
   Reply Brief(s); and Plaintiffs’
   Class Daubert Reply Brief


  2. There is no change in the following provisions set forth in Case Management Order No. 3, ECF

  No. 94, dated July 14, 2016: (A) summary judgment motions will be due 30 days after the Court

  decides the class certification motion, opposition briefs will be filed 30 days thereafter, and reply

  briefs will be due 21 days after opposition briefs are filed, and (B) any Daubert motions pertaining

  to the summary judgment motions will be filed on the same dates as the summary judgment

  briefing.



  Approved and so-ordered:


         "QSJM 
  Dated:____________________                                    ______________________________
                                                                The Honorable Brian M. Cogan
                                                                United States District Judge




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